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                                                     March 29, 2019

Via ECF

Honorable Paul A. Crotty
United States District Judge
Southern District of New York
United State Courthouse
500 Pearl Street, Courtroom 14C
New York, New York 10007


Re:    United States v. Joshua Adam Schulte, S2 17 Cr. 548 (PAC)


Dear Judge Crotty:

       We write on behalf of the parties to update the Court on scheduling and the potential
severance of the charges in the S2 Superseding Indictment.

       Government’s Position

       As the Court is aware, trial in this matter is currently set for April 8, 2019. (See
Minute Entry for August 8, 2018 Conference). To afford the parties sufficient time to
prepare the necessary pretrial motions, including suppression motions and motions
pursuant to the Classified Information Procedures Act (“CIPA”), the parties respectfully
request that the Court adjourn the trial until November 4, 2019. The parties are also
discussing a potential agreement concerning severance, as well as the order of the
potentially severed trials. The parties will update the Court on severance and a pretrial
motion schedule at or before the conference scheduled for April 10, 2019.

       Defense’s Position

        Defense counsel advises that a large part of the delay is the fault of the CIA. The
defense is unable to work efficiently with Mr. Schulte because the CIA insists that all of
his written communications with counsel—down to each comment or proposed edit to any
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work product— must be reviewed and cleared in advance by the “walled” CIA employee.
And the walled CIA employee has yet to sign off on the Memorandum of Understanding
and has delayed progress by insisting on continues edits to standard language used in
MOUs. This has only delayed substantive work: on March 4, 2019, the defense gave the
walled CIA individual a document for classification review. To date, there has been no
response. Given this delay, the defense asks the Court to schedule a status conference and
order that the CIA walled individual appear so that the delay could be addressed. Only then
can the defense submit a motion schedule.

       Agreed Upon Exclusion of Time

         Should the Court grant the parties request to adjourn the trial until November 4,
2019, the parties also respectfully request that the Court exclude time under 18 U.S.C. §
3161(h)(7) until the rescheduled trial date. Excluding time will best serve the ends of
justice and outweigh the interests of the public and the defendant in a speedy trial because
it will allow the defendant to continue to review discovery and allow the parties to prepare
the necessary pretrial motions.


                                      Respectfully submitted,
                                      /s/ Allegra Glashausser Sabrina Shroff/Edward Zas
                                      Assistant Federal Defenders
                                      Federal Defenders of New York

                                      &

                                      /s/Sidhardha Kamaraju / Matthew Laroche
                                      Assistant United States Attorneys
                                      Southern District of New York


CC: Daniel Hartenstine, CISO
    Joshua Schulte
